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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN
                             MADISON DIVISION


 Sapphire Crossing LLC,                                  Case No. 3:18-cv-00291

                         Plaintiff,                      Patent Case

                         v.                              Jury Trial Demanded

 Blackhawk Bancorp, Inc.,

                         Defendant.



                         COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Sapphire Crossing LLC (“Sapphire Crossing”), through its attorney,

Isaac Rabicoff, complains against Blackhawk Bancorp, Inc. (“Blackhawk”) and alleges

the following:

                                           PARTIES

       1.        Plaintiff Sapphire Crossing LLC is a corporation organized and existing

under the laws of Texas and maintains its principal place of business at 5570 FM 423

Suite 250, #2008, Frisco, TX 75034.

       2.        Defendant Blackhawk Bancorp, Inc. is a corporation organized and

existing under the laws of Wisconsin and maintains its principal place of business at 400

Broad St, Beloit, WI 53511.

                                        JURISDICTION

       3.        This is an action for patent infringement arising under the patent laws of

the United States, Title 35 of the United States Code.

       4.        This Court has exclusive subject matter jurisdiction under 28 U.S.C. §§
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1331 and 1338(a).

        5.       This Court has personal jurisdiction over Blackhawk because it has

engaged in systematic and continuous business activities in the Western District of

Wisconsin. Specifically, Blackhawk has branch bank locations in Wisconsin, and

provides its full range of banking services to residents in this District. As described

below, Blackhawk has committed acts of patent infringement giving rise to this action

within this District.

                                            VENUE

        6.       Venue is proper in this District under 28 U.S.C. §§ 1391(b)-(d) and

1400(b) because Blackhawk has committed acts of patent infringement in this District

and has a regular and established place of business in this District. Specifically,

Blackhawk has branch bank locations in Wisconsin and provides its full range of banking

services to residents in this District. In addition, Sapphire Crossing has suffered harm in

this District.

                                      PATENT-IN-SUIT

        7.       On May 10, 2005, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 6,891,633 (“the ’633 Patent”) to Xerox Corporation

(“Xerox”), naming Ken Hayward, Marc J. Krolczyk, Dawn M. Marchionda, Thomas L.

Wolf and James S. Laird as the inventors. The ’633 Patent is titled “Image Transfer

System”. A copy of the ’633 Patent is attached to this Complaint as Exhibit A.

        8.       The ’633 Patent is valid and enforceable.

        9.       On November 25, 2015, Xerox assigned all right, title, and interest in and

to the ’633 Patent to Sapphire Crossing is the assignee of all right, title, and interest in the
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’633 Patent, including all rights to enforce and prosecute actions for infringement and to

collect damages for all relevant times against infringers of the ’633 Patent. Accordingly,

Sapphire Crossing possesses the exclusive right and standing to prosecute the present

action for infringement of the ’633 Patent by Blackhawk.

       10.      The ’633 Patent is directed to a novel image transfer system comprising a

transfer device which can be operably connected to a computer. The system includes a

reader for reading an image on a first medium, and a display for displaying an image

transfer menu for effecting transfer of the image to perform a selected function. For

example, the reader can be a mobile electronic device used to take a photograph of a first

medium (for example, a check), and then offer on the display of the mobile electronic

device a menu of different actions that can be selected to accomplish a particular task: for

example, to deposit the check into a particular bank account. A downloadable app can

transform the mobile device into the claimed image transfer device. Without the app, the

mobile device cannot display the first type of menu, read the check, establish a

connection with a computer, transfer the image to the computer, or display the second

type of menu.

       11.      Claim 19 of the ’633 patent is directed to a method for transferring

information from a first medium (for example, a check), comprising the steps of:

providing an image transfer device (for example, a smart phone); having a scanner for

reading an image on a first medium; reading the image with the scanner; uploading an

image transfer menu to be displayed on the device from a computer (for example,

Blackhawk’s server) connected to the device; a processor of the device merging the data

read by the scanner; and the device transferring the merged image to a second medium
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(for example, a computer).

       12.     Claim 20 of the ’633 patent is directed to the same method as Claim 19

with the added requirement that the device does not store the menu uploaded from the

computer.

                   BLACKHAWK’S INFRINGING SYSTEM AND METHOD

Without authority from Sapphire Crossing, Blackhawk makes, uses (including by having

its employees test), markets, sells, or otherwise provides an image transfer method that

uses a reader for reading an image on a first medium, and a display for displaying an

image transfer menu to perform a selected function, i.e., Blackhawk’s Mobile Banking

app (the “Accused Instrumentality”). See Figure 1;

https://www.youtube.com/watch?v=LsILzGHPn-w.
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         Figure 1. Blackhawk’s Mobile Banking app allows users to deposit checks over
                                         the phone.

       13.     Blackhawk provides a downloadable app for use on mobile devices that

transforms such devices into the Accused Instrumentality that performs the elements

recited in the claims.
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       14.      Specifically, mobile devices that support Blackhawk’s app must include a

camera that, together with Blackhawk’s app, is used in the following infringing manner.

Scanning an image on a first medium, for example, the dollar amount on a paper check.

See Figure 1.

       15.      Reading the image on the first medium with the scanner. See Figure 1.

       16.      Automatically uploading and displaying on the device’s display screen an

image transfer menu obtained via a communication channel from Blackhawk’s

computer(s), where that menu offers the option to deposit the scanned check. See Figure

1.

       17.      Merging the scanned check and the selected deposit scanned check menu

option. See Figure 1.

       18.      Transmitting the merged information from the mobile device to a second

medium, for example, Blackhawk’s server(s). See Figure 1.

       19.      On its website, Blackhawk specifically instructs its customers to use the

Accused Instrumentality in a way that infringes at least claim 19 of the ’633 Patent. See,

e.g., https://www.youtube.com/watch?v=LsILzGHPn-w.

                            COUNT I: DIRECT INFRINGEMENT

       20.      Sapphire Crossing incorporates the above paragraphs herein by reference.

       21.      As a result of making, using (including having its employees internally

test and use the Accused Instrumentality as alleged below), marketing, and providing the

Accused Instrumentality, Blackhawk has and continue to directly infringe at least claim

19 of the ’633 Patent literally and/or under the doctrine of equivalents.

       22.      As set forth above, the Accused Instrumentality is specifically designed to
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perform every step of at least Claims 19 of the ’633 Patent, and each use of the Accused

Instrumentality will result in infringement of at least that claim.

       23.     Upon information and belief, Blackhawk has and continues to directly

infringe at least claim 19 of the ’633 Patent when it internally tested and used the

Accused Instrumentality.

       24.     Upon information and belief, Blackhawk’s employees and/or individuals

under Blackhawk’s control use the Accused Instrumentality to test the operation of the

Accused Instrumentality and its various functions, in the infringing manner described

here, and thereby infringes at least claim 19 of the ’633 Patent. Sapphire Crossing

therefore alleges that Blackhawk has and continues to directly infringe the ’633 Patent by

using the Accused Instrumentality to perform at least method of claim 19.

       25.     Upon information and belief, Blackhawk also have and continue to

directly infring at least claim 19 of the ’633 Patent when its employees use the Accused

Instrumentality. Upon information and belief, Blackhawk’s employees and/or

individuals under Blackhawk’s control use the Accused Instrumentality in an infringing

manner and described in detail in the above section (INFRINGING SYSTEM AND METHOD).

Sapphire Crossing therefore alleges that Blackhawk directly infringes the ’633 Patent by

using the Accused Instrumentality to perform the method of at least claim 19.

       26.     Since at least the date that this Complaint was filed, Blackhawk has

willfully infringed at least claim 19 of the ’633 Patent by directly infringing the patent

with knowledge of the patent and despite an objectively high likelihood that its actions

constituted infringement of the ’633 Patent.

       27.     Sapphire Crossing has suffered damages as a result of Blackhawk’s direct
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infringement of the ’633 Patent.

         28.    Sapphire Crossing is entitled to recover damages adequate to compensate

it for such infringement in an amount no less than a reasonable royalty under 35 U.S.C. §

284.

         29.    Sapphire Crossing will continue to be injured, and thereby caused

irreparable harm, unless and until this Court enters an injunction prohibiting further

infringement.

                           COUNT II: INDIRECT INFRINGEMENT

         30.    Sapphire Crossing incorporates the above paragraphs herein by reference.

         31.    Induced Infringement. Blackhawk has also actively induced, and

continues to induce, the infringement of at least claim 19 of the ’633 Patent by actively

inducing its customers, including merchants and end-users to use the Accused

Instrumentality in an infringing manner as described above.

         32.    Upon information and belief, Blackhawk has specifically intended that its

customers use the Accused Instrumentality in a manner that directly infringes at least

claim 19 of the ’633 Patent by, at a minimum, providing access to, support for, training

and instructions for, the Accused Instrumentality to its customers, and thereby directs

them to infringe at least claim 19 of the ’633 Patent, as described above (specifically, as

described above in INFRINGING SYSTEM AND METHOD).

         33.    Blackhawk has been aware of the ’633 Patent since at least the filing date

of this Complaint, and, upon information and belief, knew since at least this date that the

use of the Accused Instrumentality constitutes direct infringement of the ’633 Patent.

         34.    Upon information and belief, at least one of Blackhawk’s customers has
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used the Accused Instrumentality in a manner that infringes the ’633 Patent since

Blackhawk became aware of the ’633 Patent and that the Accused Instrumentality

infringes this patent.

        35.     Contributory Infringement. Blackhawk has also contributed to the

infringement of at least claim 19 of the ’633 Patent by providing the Accused

Instrumentality to, among others, its customers, and by advertising, promoting,

encouraging, instructing and aiding others to use the Accused Instrumentality in an

infringing manner.

        36.     Blackhawk has engaged in these activities knowing that the Accused

Instrumentality is especially made and adapted for use, and is in fact used, in a manner

that constitutes infringement of at least claim 19 of the ’633 Patent. The Accused

Instrumentality is not a staple article or commodity of commerce that is suitable for

substantial non-infringing uses.

        37.     Since at least the filing date of this Complaint, Blackhawk has known that

the use of the Accused Instrumentality infringes the ’633 Patent, and that such

combination of components has no substantial non-infringing use.

        38.     Sapphire Crossing has suffered damages as a result of Blackhawk’s

indirect infringement of the ’633 Patent.

        39.     Sapphire Crossing is entitled to recover damages adequate to compensate

it for such infringement in an amount no less than a reasonable royalty under 35 U.S.C. §

284.

        40.     Sapphire Crossing will continue to be injured, and thereby caused

irreparable harm, unless and until this Court enters an injunction prohibiting further
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infringement.

                                   PRAYER FOR RELIEF

WHEREFORE, Plaintiff Sapphire Crossing prays for judgment against Blackhawk on all

the counts and for the following relief:

   A.      A declaration that Sapphire Crossing is the owner of the right to sue and to

           recover for infringement of the ’633 Patent being asserted in this action;

   B.      A declaration that Blackhawk has directly infringed, actively induced the

           infringement of, and/or contributorily infringed the ’633 Patent;

   C.      A declaration that Blackhawk and its customers are jointly or severally

           responsible for the damages from infringement of the ’633 Patent through the

           use of the Blackhawk’s Mobile app;

   D.      A declaration that Blackhawk is responsible jointly or severally with its

           customers for the damages caused by the infringement of the ’633 Patent

           through the use of the Blackhawk Mobile app by Blackhawk’s customers;

   E.      An accounting for damages under 35 U.S.C. § 284 for infringement of the

           ’633 Patent by Blackhawk, and the award of damages so ascertained to

           Sapphire Crossing together with interest as provided by law;

   F.      An award of Sapphire Crossing’s costs and expenses;

   G.      An award of Sapphire Crossing’s attorney fees; and

   H.      Such other and further relief as this Court may deem proper, just and

           equitable.

                                      Respectfully submitted,

                                      /s/ Isaac Rabicoff
                                      Counsel for Plaintiff
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